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                               IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 ESSAM E. BABKKIR,

                      Plaintiff,
                                                     No.: 2:21-CV-00348-RJC
               vs.

 OLGA V. SCHILK AND DIEBOLD                          Electronically Filed
 NIXDORF,.

                          Defendants.


 LOKMAN MOHAMED,

                      Plaintiff,
                                                     No.: 2:22-CV-00522-RJC
               vs.

 ESSAM E. BABKKIR AND EDIRGAWI                       Electronically Filed
 TRANSPORT, INC.

                          Defendants/Third Party
                          Plaintiffs

                Vs.

 OLGA V. SCHILK AND DIEBOLD
 NIXDORF, INC.,

                           Third Party Defendants.


                                        MOTION TO CONSOLIDATE

          Plaintiff/Defendant/Third Party Plaintiff Essam E. Babkkir, and Defendant/Third Party

Plaintiff Edirgawi Transport, Inc., by and through their undersigned counsel, file the following

Motion to Consolidate and, in support thereof, aver and submit as follows:




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          1.        These two cases involve civil actions arising out of an accident on February 12,

2022 on Interstate 80 in Jefferson County, Washington Township, Pennsylvania as set forth in

the pleadings in both cases.

          2.        In the case docketed at 2:21-cv-00349-RJC, which is before the Honorable Robert

J. Colville, Plaintiff Essam E. Babkkir’s filed a Complaint seeking to recover for injuries and

damages against Olga V. Schilk and Diebold Nixdorf. A Counterclaim has been filed by

Diebold Nixdorf, Inc. seeking to recover for damages to the vehicle operated by Defendant

Schilk and owned by Diebold Nixdorf, Inc. This case was commenced on March 15, 2021.

          3.        In the case docketed at 2:22-cv-00522-AJS, which is now before the Honorable

Robert J. Colville as well, Plaintiff Lokman Mohamed filed a complaint seeking to recover for

injuries and damages against Essam E. Babkkir and Edirgawi Transport, Inc. This case was filed

in the Court of Common Pleas of Philadelphia County, Pennsylvania, removed to United States

District Court for the Eastern District of Pennsylvania, and has now been transferred by the

Eastern District to the Western District after the disposition of Defendants Babkkir and Edirgawi

Transport, Inc.’s Motion to Transfer. Defendants Babkkir and Edirgawi Transport, Inc. as part

of their answer and affirmative defenses to Plaintiff Mohamed’s complaint filed a third party

complaint against third party defendants Olga V. Schilk and Diebold Nixdorf, Inc. A

response/answer has not been filed to the third party complaint to date as it is not due until April

25, 2022. This case was commenced on January 21, 2022.

          4.        Mr. Babkkir and Edirgawi Transport, Inc. submit that the two (2) civil actions

above involve common questions of law and fact and arise from the same transaction or

occurrence. It is further submitted that a consolidation of the two (2) civil actions above would

avoid unnecessary cost and/or delay.




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          5.        Consolidation of these two (2) cases is permitted by Federal Rule of Civil

Procedure 42(a)(2).

          6.        All parties to these two cases consent to this Motion to Consolidate.

                    WHEREFORE, it is respectfully requested that this Court grant the Motion to

Consolidate and that the Court consolidate the two cases for discovery and trial and order that the

two cases proceed before the Honorable Robert J. Colville and that all further filings shall be

filed at 2:21-cv00348-RJC.


                                          Respectfully submitted,

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                                          Attorneys for Defendants/Third Party Plaintiffs Essam E.
                                          Babkkir and Edirgawi Transport, Inc.




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